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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                            CASE NO. 8:22CR00222

      Plaintiff,                               UNOPPOSED MOTION FOR ORDER
                                                AUTHORIZING WORK-RELATED
vs.                                                      TRAVEL

MARK BERNAL

      Defendant.


      COMES NOW the Defendant, by and through counsel, Mallory N. Hughes, and

respectfully moves this Court for an Order authorizing work related travel to Lincoln,

NE and Chicago, IL during the time period of September 21-24, 2023. In support of this

Motion, Counsel for Defendant states:

      1. On September 7, 2023, this Court sentenced Mr. Bernal to a period of

          incarceration of 5 months;

      2. This Court—following Mr. Bernal’s request for a self-surrender date in order

          to attend several work opportunities this fall—permitted self-surrender for Mr.

          Bernal on a date to be determined by BOP, not sooner than November 6,

          2023;

      3. Mr. Bernal is seeking travel for work throughout the time period of September

          21-24, 2023, where he will be in Lincoln, NE and Chicago, IL. As such, Mr.

          Bernal is further seeking removal of his GPS in order to travel, from Sept. 21-

          24, 2023;

      4. Counsel for Defendant has conferred with AUSA Christopher Ferretti, and he

          has no objection to Defendant’s request herein; and

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      5. Throughout his time on pretrial release, Mr. Bernal was permitted several

          travel requests by Pretrial, during which his GPS monitor was removed for

          travel and Mr. Bernal complied with the travel, return date, and resuming of

          use of the GPS monitor.

     DATED: September 14, 2023.

                                              Respectfully submitted,

                                              Mark Bernal, Defendant
                                              /s/ Mallory N. Hughes
                                              Mallory N. Hughes #24610
                                              BERRY LAW FIRM
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                                              Omaha, NE 68102
                                              (402) 466-8444
                                              Mallory.hughes@berrylawfirm.com
                                              Attorney for Defendant


                            CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a copy of the foregoing was served
upon the Assistant U.S. Attorney, by electronically serving a copy of the same via
CM/ECF, on this the 14th day of September, 2023.

                                         /s/ Mallory N. Hughes #24610
                                         Mallory N, Hughes




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